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HENRY TUCKER, ON BEHALF OF HIMSELF
AND ALL OTHER PERSONS SIMILARLY
SITUATED,
                                                 Civil Action No. 1:23-cv-10793




SOLGAARD DESIGN INC.,




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     12/13/2023                                           /s/ J. Gonzalez
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